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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 NATIONAL ASSOCIATION FOR
 HOME CARE & HOSPICE,

         Plaintiff,


 v.                                                      Civil Action No. 1:23-cv-01942-TNM

 XAVIER BECERRA,
 In His Official Capacity as Secretary
 of Health and Human Services,

         Defendant.


                       DECLARATION OF KEN ALBERT
        IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        I, Ken Albert, declare as follows pursuant to 28 U.S.C. § 1746:

        1.      I am the President and CEO at Androscoggin Home Healthcare + Hospice.

        2.      I have personal knowledge of the matters stated in this declaration and would testify

truthfully to them if called upon to do so.

        3.      Androscoggin is a member of the National Association for Home Care & Hospice,

the plaintiff in this action.

        4.      Androscoggin is a nonprofit provider of Medicare home health services to residents

in Maine. Androscoggin is the largest provider of home health services in Maine, and it is the only

provider serving certain rural areas in Maine.

        5.      The Centers for Medicare & Medicaid Services (CMS) pays Androscoggin for the

services it provides to patients when those patients are covered by Medicare.

        6.      Under the previous payment model, in 2019, Androscoggin received $9,797,468 in

Medicare revenues.
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       7.      Androscoggin has long provided high-quality home health services to Maine

residents. When Congress enacted the Bipartisan Budget Act in 2018 and directed CMS to change

its payment model, Androscoggin was reassured that Congress had directed CMS to ensure that

total payment expenditures would remain the same in the face of a shift to a new payment model.

Relying on the statutory requirements, Androscoggin did not make any significant changes in

services in response to the change in payment methodology directed by Congress.

       8.      Androscoggin is concerned that CMS’s final rule violates the statutory

requirements. CMS’s failure to comply with the statutory requirements has caused substantial and

ongoing harm to Androscoggin’s business and its ability to provide patients the home health

services they need. Because CMS has not adjusted the payment amounts as Congress provided,

Androscoggin has had to face dramatic payment cuts.

       9.      Under the payment cuts imposed by CMS, Androscoggin is projected to receive

only $6,564,259 in 2023.

       10.     As a result of CMS’s payment cuts, Androscoggin has reduced its service area,

leaving residents in rural regions of the state without home health services as a care option.

       11.     In addition to eliminating service areas, Androscoggin has been forced to reduce

in-person patient visits, cap patient admissions to 65% of those referred for services, significantly

reduce wound management services and telehealth services, and eliminate Medicaid long term

home health to chronic care patients.

       12.     CMS’s final rule reducing home health care payments in 2023 imposes ongoing

and irreparable harm on Androscoggin, including forcing Androscoggin to further reduce its ability

to provide services in certain areas in Maine and eliminate its remote patient monitoring supports.

The reduced payment rates also create substantial effects on profits, reputation, goodwill, and




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relationships with patients and employees. This harm is impossible to precisely predict or

quantify, would not be fully remediable by money damages.

       13.     For 2023, Androscoggin projects a financial deficit of $2,648,000 in Medicare

home health services despite having well-below average overhead costs. Androscoggin had not

experienced organizational deficits in the previous decade.

       14.     By the end of 2023, Androscoggin will be weighing whether it is able to continue

providing pediatric home health services in light of its budget deficits. Androscoggin currently

serves approximately 550 pediatric patients. There is only one other home health service provider

in Maine who does pediatric work, and our service areas overlap only slightly.

       15.     On June 28, 2023, Androscoggin Home Healthcare + Hospice presented its legal

claims and objections to CMS’s payment cuts in the form of a Request for Redetermination for

claim number 22309300281 regarding service dates of 3/1/2023 to 3/31/2023. The Request for

Redetermination was submitted to CMS’s Medicare Administrative Contractor and asserts that the

payment amounts paid for these services are unlawful because they were determined in violation

of 42 U.S.C. § 1395fff.

       16.     That Request for Redetermination was denied.

       17.     No administrative body has authority to rule in Androscoggin’s favor, even though

Androscoggin is correct on the law. See 42 C.F.R. § 405.1063. Further exhaustion of the

Secretary’s administrative review process is therefore futile.

       18.     The Medicare Administrative Contractor and all other administrative adjudicators

within the Medicare claims appeal process are required by law to follow CMS’s home health

payment rates and, therefore, have no legal authority to set aside the payment rate cuts adopted by

CMS. See 42 C.F.R. § 45.1063. Further exhaustion of the Secretary’s administrative review




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